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                            Exhibit 4

                       Declaration of S. Gast
                Defense Exhibit 3, August 28 Hearing
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